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 9                                  UNITED STATES DISTRICT COURT
10                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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12   KATHLEEN SMITH, on behalf of herself and all            Case No. 4:18-cv-06690-HSG
     others similarly situated,                              Assigned to Hon. Haywood S. Gilliam,
13                                                           Jr.
                               Plaintiff,
14                                                           SCHEDULING ORDER (as
            v.                                               modified)
15
     KEURIG GREEN MOUNTAIN, INC.,
16
                                       Defendant.
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                      SCHEDULING ORDER         Case No. 4:18-cv-06690-HSG
      Case 4:18-cv-06690-HSG Document 125 Filed 10/27/21 Page 2 of 2



 1                                              ORDER

 2           Having considered the Joint Administrative Motion to Stay Proceedings and to Modify the

 3 Case Schedule, the Court stays all proceedings and SETS the following schedule:

 4   Event                                                 Deadline

 5   Motion for Preliminary Approval of Class         February 24, 2022
     Action Settlement
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 7   Hearing on Motion for Preliminary Approval       March 17, 2022 at 2:00 p.m.
     of Class Action Settlement
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11 IT IS SO ORDERED.

12 Dated: October 27, 2021

13                                               HAYWOOD S. GILLIAM, JR.
                                                 United States District Judge
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                       [PROPOSED] SCHEDULING ORDER        Case No. 4:18-cv-06690-HSG
